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                                          Attachment A

I, ATF Special Agent Jarod Cardona, being duly sworn and deposed, state the following:

       I am a Special Agent employed by the Department of Justice, Bureau of Alcohol, Tobacco,

Firearms and Explosives assigned to the Houston Field Division, Group VIII and have been so

employed since 2009. During this time, I have conducted and participated in numerous

investigations concerning the illegal possession of firearms, Federal controlled substance

conspiracy laws, and the commission of violent crimes, to include home invasion robbery

investigations. During my employment as an ATF Special Agent, I have received specialized

training regarding, and have personally participated in, various types of investigative activity,

including, but not limited to, the following: (a) physical surveillance; (b) the debriefing of

defendants, witnesses, informants and other individuals who have knowledge concerning

violations of federal firearms laws; (c) undercover operations; (d) the execution of search warrants;

(e) the consensual monitoring and recording of conversations; (f) electronic surveillance through

the use of pen registers and trap and trace devices; (g) the court-authorized interception of both

wire and electronic communications (i.e., Title III wiretaps); and (h) the handling and maintenance

of evidence.

       This affidavit is made for the limited purpose of establishing probable cause in support of

a criminal complaint alleging that Cristian ALVEAR an individual currently unlawfully present

in the United States; knowingly possessed a firearm that traveled in interstate commerce in

violation of United States Code, Section 922(g)(5). Based upon personal knowledge and
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information I have received from other law enforcement investigators; I am aware of the following

facts:

         1.   Investigators identified “ALVEAR” as Cristian ALVEAR (hereafter referred to

as ALVEAR), a Mexican national who is believed to be present in the United States with no legal

status. ALVEAR is currently living in Houston, Texas within the Southern District of Texas.

         2.    In June 2021, Houston based ATF agents were contacted by ATF agents in Dallas,

Texas regarding their telephonic encounter with ALVEAR. ATF agents in Dallas informed ATF

agents in Houston that they identified ALVEAR through phone records associated to 832-863-

3120. ALVEAR had contacted an ATF undercover agent and was attempting to negotiate the

purchase of a .50 caliber Barrett rifle in the Dallas area. ATF Dallas contacted ATF Houston to

inform of ALVEAR’s attempts to purchase the aforementioned rifle.

         3.   After this contact, ATF Houston used a confidential informant (hereafter referred

to as “the CI”) to contact ALVEAR to inquire about his desire to purchase firearms. Affiant

believes the CI is credible and reliable based on Affiant’s prior interactions with the CI that have

resulted in seizures of contraband or the arrests of individuals. Between July 12, 2021 and August

5, 2021, ATF agents monitored and recorded several phone calls and messages between the CI and

ALVEAR in which ALVEAR expressed his desire to purchase firearms. On at least one occasion,

ALVEAR stated “just make sure everything is for sure, I have the money ready.”

         4.   2QAugust 5, 2021, the CI and ALVEAR agreed to meet in the parking area in

close vicinity of 1010 Antione Dr. in Houston, TX. ALVEAR was observed exiting his

vehicle and entering the CI’s vehicle. ATF agents monitored and recorded the meeting between

the CI and ALVEAR in which ALVEAR expressed his desire to purchase firearms and

believed he was going to be buying a firearm on this date. During this meeting, the CI and
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$/9($5 GLVFXVVHG sending or transporting firearms to other locations in Texas and outside

of the United States. During that portion of the conversation, ALVEAR stated he works with

persons in Guerrero, Mexico regarding distribution of firearms.             During this meeting,

ALVEAR displayed what is believed to be his only type of identification card, which was

noted by the CI to be a “Mexican Consulate Card”. Both the CI and ALVEAR agreed to meet

the following week to complete the firearms transaction.

       5.     On August 9, 2021, the CI and $/9($5 agreed to meet at a parking structure in

the area of 7620 Katy Freeway, Houston TX to conduct the purchase of a Barrett .50 caliber rifle

for $9,000.00 in U.S. currency. An undercover (UC) ATF agent accompanied the CI and observed

ALVEAR arrive at the predetermined meet location as the passenger in a white Chevy pick-up

truck. The UC agent observed ALVEAR inspect the rifle who then provided the CI with the

previously agreed upon amount of $9,000.00. ALVEAR was then observed carrying the rifle to

the vehicle in which he arrived. $7)DJHQWVWKHQDUUHVWHG$/9($5

       6.     Subsequent to ALVEAR’s arrest, a recorded interview was conducted after

ALVEAR was read his Miranda warnings and chose to waive said warnings. During the interview,

ALVEAR stated that he was born in Mexico and was presently in the United States unlawfully as

he did not KDYH any legal documents to be in the United States. ALVEAR also stated that due

to his undocumented status, he was aware that it was illegal for him to possess a firearm.

       7.     Agents discussed the origin of the Barrett .50 caliber rifles with ATF Nexus expert

Special Agent M. Badowsky who stated that rifle was manufactured in the state of Tennessee,

therefore its presence in Texas confirmed it had traveled in interstate commerce.

       8.     Based upon the foregoing information and my training and experience I believe

information has been presented which supports a request for the issuance of an arrest warrant for
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